




Dismissed and Memorandum Opinion filed December 4, 2008








Dismissed
and Memorandum Opinion filed December 4, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00879-CR

____________

&nbsp;

MARK B. MORRIS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 262nd District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1162612

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a Aguilty@ plea to possession of a controlled substance.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on September 9, 2008, to confinement for three years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se
notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 4, 2008.

Panel consists of Chief Justice Hedges, Justices
Anderson, and Frost.

Do Not Publish C Tex. R. App. P.
47.2(b)





